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              IN THE UNITED S'TA'TIIS DISTRICT (]OURT FOR THI]

                       WESTERN DISI'RTCT OF OKI,AHOMA


UNITED STATES OF AMERICA.                      )
                                               )
                     Plaintiff,                )
                                               )
              -vs-                             )       No. CR-24-452-l)
                                               )
JACOB ALAN KING.                               )
                                               )
                     Defendant.                )

                                  PLEA AGREEMENT

                                       Introduction

       l.     This Plea Agreement, in conjunction with a Plea Supplement filed

contemporaneously under seal, contains the entire agreement between Det-endant Jacob

Alan King, and the United States concerning Defendant's plea ol guilty in this case. No

other agreement or promise exists, nor may aoy additional agreement be entered into unless

in writing and signed by all parties. Any unilateral modification of this Plea Agreement is

hereby rejected by the United States. This Plea Agreement applies only to the criminal

violations described and does not apply to any civil matter or any civil lorfeiture

proce€ding except as specifically set fonh. This Plea Agreemenl binds only the Unired

States Attomey's Office for the Westem District of Oklahoma and does not bind any other

federal, state, or local prosecuting, administrative, or regulatory authorir.r*. If Defendant

does not accept the terms of this Plca Agrecment by +e+rrrary-}4-l0f 5, the offer is
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withdrarvn.
                                                                                   Aftf
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                                            Guilty Plea

       2.     Defendant agrees to enter a plea ol guilty to Counts 2 and 3 ol'the Indictmenl

in Case Number CR-24-452-D. Counts 2 and 3 both charge Defendant with possession of

stolen firearms, in violation of l8 LJ.S.C. $ 922(i). To be tbund guilty of violating l8 U.S.C.


$ 922(i), as charged in Couns 2 and 3 of the lndictment, Defendant must admit, and does

admit, that between on or about February 25,2024, through on or about March 6, 2024. in

the Westem District of Oklahoma: (l) Defendant knowingly and intentionally possessed

stolen firearms; (2) Defendant knew or had reasonable cause to believe that the lirearms

had been stolen; and (3) the firearms were in and aflecting interstate commerce.

                Marimum Pcnelty. Restitution. and Spccial Asscssmeot

       3.     The maximum penalty that could be imposed as a result ofthis plea to Count

2 ofthe Indictment is ten (t0) years of imprisonment, a fine of $250.000.00, or both such

fine and imprisonment. as well as a mandatory special assessment of $100.00 and a term

of supervised release of three (3) years.

       The maximum penalty that could be imposed as a result of this plea to Count 3 of

&e lndictment is ten (10) years of imprisonment. a fine of$250,000.00, or both such fine

and imprisonment, as well as a mandatory special assessment of $100.00 and a lerm of

supervised release of three (3) years.

       Defendant is pleading guilty to multiple counts of conviction, and Defendant

understands that the Court may impose the sentence as to each count to nrn consecutively

to one another, so that the total imprisonment that Defendant may face is greater than the

maximum punishment for any one offense.


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       4.      ln addition to the punishment described above, a plea of guilty can affect

immigralion status. If Defendant is not a citiz-cn of the United Slates, a guilty plea may

result in deportation and removal from the United States. may prevent Defendant from ever

lawfutly reentering or remaining in the United States, and may result in the denial of

naturalization. Further. if Defendant is not a citizen of the United States, Defendant

knowingly and voluntarily waives any right. pursuant to 18 U.S.C]. $ 4100, et seq., to

request to transfer service ofany sentence of imprisonment or part thereof lo Deltndant's

home counky. If Defendant is a naturalized citizen of the Unilcd Stales. a guilry plea may

result in denaturalization.

       5.      In addition, the Court must order the payment of restitution to any victim(s)

ofthe offense. Pursuant to l8 U.S.C]. $g 3663(aX3) and 3663A, the parties agree that. as

part of &e sentence resulting from Defendant's plea" the Court will enter an order of

restitution ro all victims ofl)efendant's relevant conduct as determined by reference to the

Unired States Sentencing Guidelines (the "Cuidelines").

       6.     Defendant agrees to pay any special assessrnent(s) to the Office of the Cou*

Clerk immediarely following sen&ncing. Defendant understands that any fine or

restitution ordered by the Court is immediately due unless the Court provides for payment

on a date certain or in installments. lf the Court imposes a schedule lbr payment of

restitution, Defendant agrees that such a schedule represenls a minimum payment

obligation and does not preclude the united states Attorney's office from pursuing other

means by which to satisfy Defendant's full arrd imrnediately enlbrceable Iinalcial

obligations. Defendant accepfs a continuing obligarion to pay in full, as soon as possible,
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any financial obligation imposed by the Court. De fendant further understands thal s lbilure

to abide by lhe terms of any restitution schedule imposed by the Court may result in further

action by the Court.

       7.     For certain statutory offenses, the Court must also impose a term of

supervised release, which Defendant will begin to serve atier being released from cuslody.

For all other offenses, the Cou( may impose a term of supervised release to be served

following release from custody. During the term of supervised release, Defendant will be

subject to conditions that will include prohibitions against violating local, state, or federal

Iaw, reporting requirements, reslrictions on travel and residence, and possible lesting lbr

controlled substance use. lf Defendant violates the conditions of supervised release, the

Court may revoke Defendant's supervised release and sentence Defendant to an additional

term of imprisonmenl. This additional lerm of imprisonment would tre servcd without

credit for the time Deftndant successfully spent on supervised release. When combined,

the original tenn of imprisonment and any sub.sequenl term of imprisonment the Court

imposes may exceed the statutory nraximum prison term allowable for the offense.

                                   Financial Disclosures

       8.     Defendant agrees to disclose all assets in which Defendant has imy interest

or over which Defendant exerciscs control. directly or indirectly, including those held by a

spouse, nominee, or any other third party. lJpon request hy the l-lnited States, Defendant

agrees (l) to complete truthfully and sign under penalty of perjury a Financial Statement

ofDebtor by the change-of-plea hearing, or a date otherwise agreed to by the united States,

and (2) to provide updates with any material changes in circunstances, as described in lg


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U.S.C. $ 3664(k), wilhin seven days of the event giving rise to such changes. Defendant

understands that the United States will take Defendant's compliance with these requests

into account when it makes a recommendation to the Court regarding Defendant's

acceptance of responsibility.

       9.      Defendant also expressly authorizes the United States Attomey's Oflice to

obtain a credit report on Defendant, in order to evaluate Defendant's ability to satisly any

financial obligations imposed by the Court. Finally, Defcndant agrees to noti$ the

Financial Litigation Program ("FLP") of the United States Attorney's OIIlce and to obtain

permission from FLP before Defendant transfers any interesl in property with a value

exceeding $1,000.00, owned directly, indirectly, individually. or iointly by Defendant,

including any interest held or owned under any name, including trusts, partnerships, or

corporations. Defendant acknowledges a continuing obligation to notiS and obtain

permission from FLP for any transfers of the above-described property until full

satisfaction of any restitution, fine, special assessmenl, or olher financial obligations

imposed by the Court.

                                          Forfeitu re

       10. Defendant agrecs to forfeit to the Llnited Statcs voluntarily and immediatcly
all ofDefendant's right, title, and interest in and to all msets which are subject to forleiturc

pursuant to l8 LJ.S.C. g 924(d) and 2E U.S.C. { 246t (c), including bur not limired to:

              a.      a Smith & Wesson, model SD40 VIi, .40 caliber pistol, bearing serial
                      number FDU8580;

              b.      a Radical Firearms, model l-R-15. murti-caliber ri{re. bearing seriar
                      wmber 2-002776;


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                       a Smith & Wes$& model SD9, 9mm calibsr pistol, bearing serial
                       number FDW4308;

                d      an Arms Corp. of the Philippines (Rock Island Armory), rnodel
                       Ml9 t I A1-FS, .45 caliber pis&rl, bearing serial number RIA2370665;

                e     a FMK Firearms, model gcl G2,9mm caliber pistol, bearing scrial
                      number 8825074; and

                f.    any aad all ammunition aad magazines not specilically listed.

Defendant agrees that the listed assets were involved in the violations to which Defendant

is pleading guilty.

       I   l.   Defendant knowingly and voluntarily waives Defendant's right to a jury trial

on the forfeiture ofassets. Defendant knowingly and vohmtarily rvaives all constitutional,

legal, and equitable defenses to the forfeiture ofthese assets in any proceeding, and fuither

waives any claim or defense under the Eighth Amendment to the United State$

Constihrtion, includiag any claim ofexcessive fine, to the forfeiture or disposition ofassets

by the United States, the State of Oklahoma, or its subdivisions. Deftndant knowingly and

voluntarily consents to the entry of a final order of forfeiture before sentenciog as to

Defendant's intefest in the assets. Forfeiture of Defendant's assets shall not be treated as

satisftction of any fine, restitution, cost of imprisonmen(, or any other penalty the Coua

may impose upon Defondant in addition io hrfeiture.

       12. Defbndant knowingly and voluntarily waives any right to appeal or
collaterally attack any matter in cormection with the forfeiturc provided for herein.

Defendant waives Defendant's right to notice ofany forfeiture proceeding and agrees not

to file a claim to lhe above-listed property or property involved in the urderlying criminal


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conduct, or otherwise contest forfeiture in any civil, administrative, orjudicial proceeding

that may be initiated. Defendant further agrees not to assist others in filing a claim in a

forfeiture proceeding or otherwise assist others who challenge a forfciture action invnlving

the abovelisted property or property involved in the underlying criminal conduct.

Defendant also voluntarily and immediately waives all right, title, and interest in and to rhe

above-listed property in order that appropriate disposition may be made by the appropriate

federal or state law enlorcement agency.

                                  Sentencins Guidelines

       13. The parties acknowledge that l8 U.S.C. $ 3553(a) directs the Court to
consider certain factors in imposing sortence, including the Guidelines promulgated by the

Lrnited States Sentencing Commission. Consequently, although the parties recognize that

the Guidelines are only advisory, lhey have entered into certain stipulations and agreements

with respect to the Guidelines. Based upon the information known to the panies on the

dste that this Plea Agreement is executed, they expect to take, but are not limited 1o, the

following positions at sentencing:

              a.     The parties agree Defendant should receive a two-level downward

adjustment for Defendant's acceptance of responsibility. pursuant to [J.S.S.G. 0 3E l.l (a),

if Defendant commits no further crimes, does not lhlsely deny or frivolously contest
relevant conduct, and fully complies with all other terms of this Plea Agrccment. Furthcr.

if rhe cou( applies that two-level downward adjustment, the tjnited states will move for

an additional oneJevel downward ad.iustment rurder u.s.S.G. g 3l:l.l(b) if it determines

that Defendant qualifies tbr the additional adjustmenl based on the timeliness of


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Defendant's acceptance of this Plea Agreement and other appropriale considerations rn

U.S.S.G. $ 3E l.l and its application notes.

              b.      The partics agree and stipulate that Delbndant's relevant conduct does

nol support the application of any role enhancement pursuant to U.S.S.G. $ 3Bl.l or a

mitigating role reduction pursuant to U.S.S.G. $ 381.2.

       Apart from any expressed agreements and stipulations, the parties reserve the right

to advocate for, and present evidence relevant to. other Guidelines adjustments and

sentencing factors for consideration by the United States Probation Oflce and the Court.

       14. The parties have entered into this Plea Agreement under the provisions of
Federal Rules of Criminal Procedure I I (cX I XA) and I I (cX I XB). Defendant

acknowledges and understands that the Court is not bound by, nor obligated to accept, these

stipulations, agreements, or recommendations of the United Stales or Defendant. And,

even if the Court rejects one or more of these stipulations, agreements, or

recommendations, that fact alone would not allow Defendant to withdraw Defendant's plea

of guilty. Upon Defendant's signing of this Plea Agreement. the United States intends to

end its investigation of the allegations in the Indictment, as to Defendan! except insofar as

required to prepare for further hearings in this case. including but no1 limited to scntcncing,

and to prosecute others, ifany, involved in Defendant's conduct. 'I'he United States agrees

to end any investigalion directed specilically at the lbregoing stipulations, agreements, or

recommendations &s to Defendant. However, subject to the terms and conditions of this

Plea Agreement and Plea supplement, the tjnited States expressly reserves the right to take

posilions that deviate &om the foregoing stipulations, agrsements, or recommendatfuns in


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lhe event that material credible cvidence requiring such a deviation is discovercd during

the course of is investigation after the signing of this Plea Agreement or arises lrom

sources independent of the (lnited States, including the LJnited States Probation Office.

              Waiver of Rieht to ADpell and Brins Collateral Challenee

       15. Defendant understands that the Court will consider the factors set forth in l8
U.S.C. $ 3553(a) in determining Defendant's sentence. Defendant also understands that

the Court has jurisdiction and authority to impose any sentencc within the statutory

maximum for the offense(s) to which Defendant is pleading guilty. Defendant further

understands that 2E U.S.C. $ l29l and l8 U.S.C. $ 3742 give Defendant the right to appeal

the judgment and sentence imposed by the Court. Acknowledging all of this, and in

exchange for the promises and concessions made by the LJnited States in this Plea

Agreement, Defendant knowingly and voluntarily waives the following rights:

              a.     Defendant waives the right to appcal Defendant's guilty plea, and any

other aspect of Defendant's conviction, including but not limited to any rulings on pretrial

suppression motions or any other pretrial dispositions of motions and issues;

              b.     Except as stated immediately below. Defendant waives the right to

appeal Defendant's sentence. including any' rcstitution. and the manner in which thc

sentence is determined, including its proccdural reasonablencss. If the sentence is above

the advisory Guidelines range determined by the Court to apply to Defendant's case, this

waiver does not include Defcndant's right to appeal thc substantive rcasonahlencss of

Defendant's sentence;




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              c.     Defendanl waives the right to appeal or collaterally challenge the

length and conditions of supervised release. as well as any sentence imposed upon a

rcvocation of Defendant's supervised relcase;

              d.     Defendant waives the right to collaterally challenge or move to

modi$ (undcr 28 U.S.C. $ 2255, I E U.S.C. $ 3582(cX2). or any other ground) Defendant's

conviction or sentence, including any restitution, except with respect to claims of
                                    .I'his
ineffective assistance ofcounsel.            waiver does not include Defendant's ability to file

a motion for compassionate release under 18 U.S.C. $ 3582(cXlXAXi). Delbndant.

however, waives the right to appeal the denial oi any motion filed under 18 U.S.C.

$ 3582(cXlXAXi) where such denial rests in any part upon the Court's determination that

a sentence reduction is not warranted under factors set tbrth in l8 Li.S.C. $ 3553(a).


       Defendant acknowledges that these waivers remain in full effect and are

enforceable, even if the Court rejects one or more of the positions of the United States or

Defcndant sel forth in paragraph 13.

       16. Except as stated immediately below, thc United States agrces to waive its
right under 18 U.S.C. g 3742 to appeal lhe sentence imposed by the Court and the manner

in which the sentence was determined. If the senlence is below the advisory Guidelines

range determined by the courr to apply in this case. this waiver does not include thc right

ofthe United states to appeal the substanlive reasonableness ofDefendant.s sentence.

                        Waiver of FOIA a nd Privac v Act            hts

       17. Defendant waives all rights, whether asserted directty or bv a representative,
to request or receive from any department or agency of the United States
                                                                                   any records


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pertaining to the investigation or prosecution of this case. including but not limited to

records that Defendant may seek under the Freedom of Intbrmation Act, 5 U.S.C. g 552.

or the Privacy Act of 1974,5 U.S.C. $ 522a.

                                 Obllsations of Defendant

        lE. Defendant shall commit no further crimes. Should Defendant commit any
further crimes, knowingly give false, incomplete, or misleading testimony or information,

or otherwise violate any provision of this Plea Agreement, the United States will be

released from any obligations, agreements, or restrictions imposed on it under this Plea

Agreernent, and the United States may prosecute Defendant for any and all of Defendant's

federal criminal violations, including perjury and obstruction ofjustice. Any proseculion

within the scope of this investigation that is nor time-barred by the applicable statute of

limitations on the date of the signing of this Plea Agreement may be brought against

Defendant, notwithstanding the expiration of the statute of limitations between the signing

of this Plea Agreement and the commencement of that prosecution. Defendant hereby

waives all defenses based on the stafute of limitations with respect to any prosecution that

is not time-barred on the date that this Plea Agreement is signed.

       19. The parties also recognize that if the Court determines that Defendant has
violated any provision of this Plea Agreemenl or authorizes l)efendant to withdraw from

Defendant's knowing and voluntary guilty plea entered pursuant to this plea Agreement:

(a) all written or oral statements made by Defendant to the court or to t'ederal or olher

designated law enforcement agents, any testimony given by Delendant betbrc a grand jury

or other tribunal, whether before or after the signing oi'this plea Agreement, and any leads


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from those statements or testimony, shall be admissible evidence in any criminal

proceeding brought against Defendant; and (b) Defendant shall assert no claim under the

United States Constitution, any statute. Federal Rules of Criminal Procedure I l(dXl) and

I l(f), Federal Rule of Evidence 410, or any other federal rule or law that those s&atements

or any leads tom those stat€ments should be suppressed. Defendant knowingly and

voluntarily waives Defendant's rights described in this paragraph as ofthe time Defendant

signs this Plea Agreement.

                             Obliertions of the Utrited Ststeg

       20. If Defendant entsrs a plea of guilty as described above and fully meets all
obligations under this Plea Agreement, the United States will move to dismiss at sentencing

Count I of the lndictnent, as to Dcfendant, retumed on October 15,2024, and the United

States Attorney's Office for the Western District of Oklahoma will not further prosecute

Defendant for any crimes related to Defendant's trafficking of firearms and possession of

stolen firearms from behreen on or about February 25, 2024 tkough on or about March 6,

2024. This Plea Agreement does not provide any protection against prosecution for any

crime not specifically described above.

       21. Defendant understands that thc sentcnce to be imposed upon Defendant is
within the sole discretion of the court. The tJnited States does not make any promisc or

representation as to what sentence f)efendant will receive. The tJnited States reserves the

right to inform the tlnited ststes probation office and the court of the nature and extent

of Defendant's activities with respect to this case and all orher aclivities of Defendant
                                                                                            that

the llnited States deems relcvant to sentencing.



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                                      Siqnatures

        22. By signing this Plea Agre{ment, Defendant acknorrledges that Defendant
has discussed thc terms ofthe Plea Agreement with Defendant's attorney and understands

and accepts those terms. Further, Defendant acknowledges that this Plea Agreement, in

conjunction with the Plea Supplement filed contemporaneously under seal, contains the

only terms of the agreement concerning Defendant's plea of guilty in this case, and that

there are no olher deals, bargains, agreements, or undextandings which modift or alter

these terms.

        Dated this   Z l..1
                        day of lc.b-.*'f        ,ZOZS.


                                                 ROBERT J. 'I'ROESTER
                                                 United States Attorney




           B. SNYDER                            S'I].,PHT]N .ltocH
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                                                (405) s53-8888 (FAX )




J   COI] AI,    KING                            J.P.     I-
Defendant                                                 tbr Defendant




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